   Case 23-43569-mxm13             Doc 48    Filed 01/18/24 Entered 01/18/24 15:54:41                  Desc Main
                                            Document Page 1 of 2
Tim Truman
Standing Chapter 13 Trustee
6851 N.E. Loop 820, Suite 300
North Richland Hills, TX 76180-6608
Telephone: (817) 770-8500
Facsimile: (817) 498-1362
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS
                                            FORT WORTH DIVISION

                                                          §
IN RE:                                                    §     CASE NO.: 23-43569-MXM
                                                          §
JOSEPH IMAD YAMMINE                                             CHAPTER 13
                                                          §
                             DEBTOR
                                                          §
                                                          §



                   TRUSTEE'S RESPONSE TO DEBTOR'S MOTION TO REINSTATE CASE



TO THE HONORABLE MARK X MULLIN, UNITED STATES BANKRUPTY JUDGE:

   Now comes, Tim Truman, the Standing Chapter 13 Trustee and files this "Trustee's Response to Debtor's
Motion to Reinstate Case" ("Response") heretofore filed herein by the Debtor, and for same would respectfully
show the Court as follows:

    1. Debtor must comply with the terms of the Plan and Code, provide all documents required by the Rules
and General Order, and resolve the issues that required dismissal of the case prior to reinstatement, including
becoming current on all Plan payments.

    WHEREFORE, PREMISES CONSIDERED, the Trustee prays that the Debtor's Motion be DENIED
unless and until the Debtor has presented evidence to the Court that all requirements as stated above are met ,
and for general relief.

                                                                Respectfully submitted,


                                                                By: /s/ Angela Allen
                                                                Tim Truman, Chapter 13 Trustee
                                                                State Bar No. 20258000
                                                                Angela Allen, Staff Attorney
                                                                State Bar No. 007869700
                                                                6851 N.E. Loop 820, Suite 300
                                                                North Richland Hills, TX 76180-6608
                                                                Telephone: (817) 770-8500
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 Trustee's Response to Debtor's Motion to Reinstate Case                                                           Page 2 of 2
                                           CERTIFICATE OF SERVICE

     I hereby certify that a true and correct copy of the foregoing Trustee's Response was served on the parties
listed below in the manner listed below on or before January 19, 2024.

                                                                   By: /s/ Tim Truman
                                                                   Tim Truman, Chapter 13 Trustee
                                                                   State Bar No. 20258000
                                                                   Angela Allen, Staff Attorney
                                                                   State Bar No. 007869700

FIRST CLASS MAIL:
JOSEPH IMAD YAMMINE, 2705 HOLLAND, FT WORTH, TX 76164

ELECTRONIC SERVICE:
LINEBARGER GOGGAN BLAIR & SAMPSON LLP, 2777 N STEMMONS FWY #1000, DALLAS, TX 75207
United States Trustee, 1100 COMMERCE STREET, ROOM 976, DALLAS, TX 75242
